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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION


IN RE: ETHICON, INC. PELVIC REPAIR                                 Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                         MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN                                 JOSEPH R. GOODWIN U.S. DISTRICT
EXHIBIT A                                                                  JUDGE


            NOTICE OF ADOPTION OF ETHICON’S MOTION TO EXCLUDE THE
         OPINIONS AND TESTIMONY OF HOWARD JORDI, PH.D., FILED IN WAVE 4

         Defendants Ethicon, Inc. and Johnson & Johnson (“Ethicon”) hereby adopt and

incorporate by reference Ethicon’s Motion to Exclude the Opinions and Testimony of Howard

Jordi, Ph.D. [Dkt. #3633], and Ethicon’s Memorandum of Law in Support of Motion to Exclude

the Opinions and Testimony of Howard Jordi, Ph.D. [Dkt. #3637], previously filed in Wave 4.

Ethicon respectfully requests that the Court exclude Dr. Jordi’s testimony in the Wave 6 cases

identified in Exhibit A, attached hereto, for the reasons expressed in the Wave 4 briefing adopted

and incorporated herein.

Dated: October 20, 2017


                                                         Respectfully submitted,


                                                         /s/ David B. Thomas
                                                         David B. Thomas (W.Va. Bar #3731)
                                                         Thomas Combs & Spann PLLC
                                                         300 Summers Street
                                                         Suite 1380 (25301)
                                                         P.O. Box 3824
                                                         Charleston, WV 25338
                                                         (304) 414-1807
                                                         dthomas@tcspllc.com
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                                   /s/ Christy D. Jones
                                   Christy D. Jones
                                   Butler Snow LLP
                                   1020 Highland Colony Parkway
                                   Suite 1400 (39157)
                                   P.O. Box 6010
                                   Ridgeland, MS 39158-6010
                                   (601) 985-4523
                                   christy.jones@butlersnow.com

                                   COUNSEL FOR DEFENDANTS
                                   ETHICON, INC. AND JOHNSON & JOHNSON




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to CM/ECF participants registered to receive service in this MDL.




                                            /s/ David B. Thomas
                                            David B. Thomas (W. Va. Bar No. 3731)
                                            Thomas Combs & Spann, PLLC
                                            300 Summers Street, Suite 1380
                                            P.O. Box 3824
                                            Charleston, WV 25338-3824
                                            (304) 414-1800
                                            dthomas@tcspllc.com
